    Case 4:16-cv-03745 Document 41-1 Filed on 11/01/17 in TXSD Page 1 of 5



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                      )
LUCAS LOMAS, and                      )
CARLOS EALGIN,                        )
      On behalf of themselves and all )
      others similarly situated,      )
                                      )
              Plaintiffs,             )
                                      )
v.                                    )
                                      )                       Case No. 16-CV-3745
HARRIS COUNTY, TEXAS,                 )
                                      )                       (Class Action)
                                      )
              Defendant.              )
____________________________________)


                                FINAL CONSENT JUDGMENT

       Harris County and Plaintiffs have agreed to settle this case. Per the Settlement Agreement

attached to this Judgment as Exhibit 1, the District Attorney, in her official capacity, has agreed to

change (and has already changed) the process of presenting probable cause statements for

warrantless arrests, whereby an officer now swears to the facts being inputted into the District

Attorney Intake System (“DIMS”) and, as a result, sworn facts are now presented to judicial

officers for determination of probable cause.

       It is understood by the parties that, by agreeing to settle this case, Harris County is not

admitting liability nor is Harris County admitting that the policies and practices complained of in

Plaintiffs’ complaint are those of Harris County.

       Moreover, by agreement of the parties, Harris County has agreed to pay $75,000 in

reasonable attorneys’ fees payable to Civil Rights Corps in order to settle this litigation. By paying
     Case 4:16-cv-03745 Document 41-1 Filed on 11/01/17 in TXSD Page 2 of 5



attorneys’ fees, Harris County is not admitting that it is liable or that the policies at issue represent

those of Harris County.

        THEREFORE, it is hereby ORDERED that the parties shall follow the terms set forth in

the Settlement Agreement, attached as Exhibit 1. The Court further orders that the Settlement

Agreement shall be monitored by an independent monitor for a period of three years from the entry

of this Consent Judgment. The monitor shall be responsible for ensuring that the District Attorney

has modified the DIMS system in accordance with the above terms. The monitor will notify

Plaintiffs’ counsel and the Court of any non-compliance as soon as practicable. Harris County, as

the custodian of records, will retain accurate copies (in either paper or electronic form) of all DIMS

summaries that are presented to hearing officers for probable cause determinations and copies of

all video hearings for at least one year after the probable cause determinations, and Harris County

will make such records available to the monitor upon request. The Court retains jurisdiction solely

for the purpose of enforcing the terms of the settlement agreement.



        SIGNED this ________ day of _____________________, 2017.




                                                        ___________________________________
                                                        UNITED STATES DISTRICT JUDGE
Case 4:16-cv-03745 Document 41-1 Filed on 11/01/17 in TXSD Page 3 of 5
Case 4:16-cv-03745 Document 41-1 Filed on 11/01/17 in TXSD Page 4 of 5
Case 4:16-cv-03745 Document 41-1 Filed on 11/01/17 in TXSD Page 5 of 5
